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                        ONITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

 UNITED STATES OP AMERICA           :    Hon. Kevin McNulty

            V.
                                         Criminal No. 12-590
 MARK CLEVETT and
 HAROLD CLEVETT                     :    ORDER


                 This matter having been opened to the Court on the

 joint application of Paul J. Fishman, United States Attorney for

 the District of New Jersey (Rahul Agarwal, Assistant U.S.

 Attorney, appearing), and defendants Mark Clevett (Donald H.

 Larsen, Esq., appearing), and Harold Clevett (Brian J. Neary,

 Esq., appearing), and good cause having been shown, the Court

 makes the following findings:

            1.    This case is sufficiently complex, due to the

 nature of the prosecution, that it is unreasonable to expect

 adequate preparation for pretrial proceedings and trial within

 the time limits established by Title 18, United States Code,

 Section 3161; and

            2.    The ends of   justice served by a continuance of the

 trial date in this matter until May 6, 2013 outweigh the interest

 of the public and the defendants in a speedy trial.
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            IT IS, therefore, on this      ‘?       day of October, 2012,

            ORDERED that:

 the trial date in this matter is continued until May 6, 2013, and

 that the period of time from September 25, 2012 through May 6,

 2013, shall be excluded for the purposes of computing time under
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 the Speedy Trial Act pursuant to 18 U. S C.             3161(h) (7) (A),

 (h) (7) (B) (ii), and. (h) (7) (B) (iv); and it is further

            ORDERED that:

                 1.     Defendants shall file pretrial motions on or

 before February 25,     2013;

                 2.     The Government shall respond to such motions

 on or before March 18,     2013;

                 3.     Defendants shall file reply papers, if any, on

 or before April 1,     2013;

                 4.     The return date for pretrial motions shall be

 April 15, 2013 at 10:00 a.m.; and

                 5.     Trial shall commence on May 6, 2013 at 9:30




                                        HON. KEVIN
                                        United States District
 I hereby consent to the form
 and entry of this order



Donald H. Larsen, Esq.
(Attorney for Mark Clevett)




Br n    .   ry, Esq.
(Attorney for Ha id Cloy tt)



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